Case 5:11-cv-01846-LHK Document 1350-4 Filed 07/26/12 Page 1 of 12
     Case 5:11-cv-01846-LHK Document 1350-4 Filed 07/26/12 Page 2 of 12

       CONFIDENTIAL BUSINESS INFORMATION - SUBJECT TO PROTECTIVE ORDER
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· · · ·CONFIDENTIAL BUSINESS INFORMATION - SUBJECT TO PROTECTIVE ORDER
·1· · · · · · · · · ·UNITED STATES DISTRICT COURT
· · · · · · · · · ·NORTHERN DISTRICT OF CALIFORNIA
·2· · · · · · · · · · · · ·SAN JOSE DIVISION
· · ·_______________________________________
·3
· · ·APPLE, INC., a California corporation,
·4
· · ·Plaintiff,
·5
· · ·v.· · · · · · · · · · · · · · · · · · · ·Civil Action No.
·6· · · · · · · · · · · · · · · · · · · · · · 11-CV-01846-LHK

·7· ·SAMSUNG ELECTRONICS CO., LTD.,
· · ·a Korean business entity;
·8· ·SAMSUNG ELECTRONIC AMERICA, INC.,
· · ·a New York corporation; and
·9· ·SAMSUNG TELECOMMUNICATIONS AMERICA, LLC,
· · ·a Delaware limited liability company,
10
· · ·Defendants.
11· ·_______________________________________

12

13· · · · · · *** CONFIDENTIAL BUSINESS INFORMATION ***
· · · · · · · · · · ·SUBJECT TO PROTECTIVE ORDER
14

15· · · · · · · · VIDEOTAPED PERSONAL DEPOSITION OF:

16

17· · · · · · · · · · · · · ·SANGEUN LEE

18

19

20

21

22· · · · · · · · · · · · February 24, 2012

23· · · · · · · · · · · · · ·Kim & Chang

24· · · · · · · · · · · · Seoul, South Korea

25· · · · · · · · · · · 9:00 a.m. - 2:01 p.m.

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             Case 5:11-cv-01846-LHK Document 1350-4 Filed 07/26/12 Page 3 of 12

               CONFIDENTIAL BUSINESS INFORMATION - SUBJECT TO PROTECTIVE ORDER
                                                                                  5

08:59:36   ·1· · · · · · · · · · ·P-R-O-C-E-E-D-I-N-G-S

08:59:36   ·2· · · · · · · THE VIDEOGRAPHER:· We are now on the record

09:00:13   ·3· ·in the matter of Apple, Inc. versus Samsung

09:00:19   ·4· ·Electronics Company, Ltd., et al., for the

09:00:21   ·5· ·United States District Court, Northern District of

09:00:25   ·6· ·California, San Jose Division, Case No.

09:00:38   ·7· ·11-CV-01846-LHK.· Today's date is February 24th, 2012.

09:00:44   ·8· ·The time now is 9 o'clock.

09:00:47   ·9· · · · · · · This is the video record in the video

09:00:50   10· ·deposition of Sangeun Lee.· The deposition is taking

09:00:57   11· ·place at Kim & Chang, Daewoo building, Jongno-gu,

09:01:03   12· ·Seoul, Korea.· I'm Wah Kit Ip, a deposition video

09:01:09   13· ·specialist with American Realtime Court

09:01:12   14· ·Reporters/Asia.· The court reporter is Lisa Knight,

09:01:16   15· ·also with American Realtime Court Reporters/Asia.

09:01:21   16· · · · · · · Will all the attorneys please identify

09:01:23   17· ·themselves and the parties they represent.

09:01:27   18· · · · · · · MR. HO:· Francis Ho from Morrison & Foerster

09:01:30   19· ·representing Apple.· And with me is Stephanie Kim,

09:01:33   20· ·Morrison & Foerster.

09:01:34   21· · · · · · · MR. SHAUL:· David Shaul, on behalf of

09:01:37   22· ·Samsung.· With me is Edward Kim from Samsung.

09:02:18   23· · · · · · · (Interpreters sworn.)

09:02:18   24· · · · · · · · · · · · · SANGEUN LEE,

09:02:18   25· ·having been first duly sworn to state the whole truth


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             Case 5:11-cv-01846-LHK Document 1350-4 Filed 07/26/12 Page 4 of 12

               CONFIDENTIAL BUSINESS INFORMATION - SUBJECT TO PROTECTIVE ORDER
                                                                                  6

09:02:21   ·1· ·testified as follows:

09:02:21   ·2· · · · · · · MR. HO:· We understand the court reporter is

09:02:24   ·3· ·not authorized to administer oaths in this venue.

09:02:27   ·4· ·Nevertheless, we request that she administer the oath,

09:02:29   ·5· ·and we stipulate that we waive any objection to the

09:02:32   ·6· ·validity of the deposition based on the oaths.

09:02:35   ·7· · · · · · · THE REPORTER:· Counsel, do you agree?

09:02:35   ·8· · · · · · · MR. SHAUL:· Agreed.

09:02:35   ·9· · · · · · · THE REPORTER:· Thank you.

09:02:35   10· · · · · · · You may proceed.

09:02:35   11· · · · · · · · · · · · · ·EXAMINATION

09:02:42   12· ·BY MR. HO:

09:02:42   13· · · · Q.· · Good morning, Mr. Lee.

09:02:43   14· · · · A.· · Good morning.

09:02:43   15· · · · Q.· · Can you please state your full name for the

09:02:44   16· ·record and spell it in English characters.

09:03:02   17· · · · A.· · My name is Sangeun Lee, family name being Lee.

09:03:07   18· ·It's L-e-e, S-a-n-g-e-u-n.

09:03:13   19· · · · Q.· · Mr. Lee, have you been deposed before?

09:03:15   20· · · · A.· · Never.

09:03:19   21· · · · Q.· · Let me explain just the ground rules so that

09:03:23   22· ·you understand how this process goes.· I will be asking

09:03:26   23· ·you questions about issues in this litigation, and

09:03:31   24· ·hopefully you can provide me some answers.· The court

09:03:33   25· ·reporter will record everything we say.


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             Case 5:11-cv-01846-LHK Document 1350-4 Filed 07/26/12 Page 5 of 12

               CONFIDENTIAL BUSINESS INFORMATION - SUBJECT TO PROTECTIVE ORDER
                                                                              19

09:36:14   ·1· · · · · · · MR. SHAUL:· Objection to form.

09:36:28   ·2· · · · A.· · That, I don't know.

09:36:28   ·3· ·BY MR. HO:

09:36:30   ·4· · · · Q.· · Who assigned you to be the leader of this Best

09:36:33   ·5· ·Buy task force?
                         force?

09:36:34   ·6· · · · A.· · My team leader.

09:36:50   ·7· · · · Q.· · Who is your team leader?

09:36:52   ·8· · · · A.· · Doo Pyo Yoon, the executive manager.

09:37:04   ·9· · · · · · · CHECK INTERPRETER:· "Senior VP."

09:37:05   10· ·BY MR. HO:

09:37:05   11· · · · Q.· · Who came up with the idea for the Best Buy task

09:37:08   12· ·force?
               ·force?

09:37:09   13· · · · A.· · That one, I don't know.

09:37:21   14· · · · Q.· · Why was -- strike that.

09:37:28                   W
           15· · · · · · · Why did Samsung come up with the Best Buy task

09:37:32   16· ·force?
               ·force?

09:37:38   17· · · · · · · MR. SHAUL:· Objection to form.

09:37:44   18· · · · A.· · That, I don't know.

09:37:44   19· ·BY MR. HO:

09:37:48   20· · · · Q.· · Is it to monitor reasons why customers returned

09:37:51   21· ·the Galaxy Tab 10.1?
                               10.1?

09:37:53   22· · · · · · · MR. SHAUL:· Objection to form.

09:38:07   23· · · · A.· · Can you re-ask the question, please?

09:38:09   24· ·BY MR. HO:

09:38:10   25· · · · Q.· · Was the Best Buy task force created so that


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             Case 5:11-cv-01846-LHK Document 1350-4 Filed 07/26/12 Page 6 of 12

               CONFIDENTIAL BUSINESS INFORMATION - SUBJECT TO PROTECTIVE ORDER
                                                                              20

09:38:14   ·1· ·Samsung can determine reasons why customers returned the

09:38:17   ·2· ·Galaxy Tab 10.1?

09:38:18   ·3· · · · · · · MR. SHAUL:· Objection to form.

09:38:41   ·4· · · · A.· · That is how I received the orders.

09:38:41   ·5· ·BY MR. HO:

09:38:44   ·6· · · · Q.· · Can you turn to page 5, please, of the

09:38:47                                            ?
           ·7· ·document.· What does "VOC" stand for?

09:38:59   ·8· · · · A.· · Voice of customer.

09:39:08   ·9· · · · Q.· · What does page 5 depict?

09:39:12   10· · · · A.· · It's a summary -- one of the summaries of the

09:39:32   11· ·TF results.
                          .

09:39:34   12· · · · Q.· · What kind of summary is this?

09:39:35   13· · · · A.· · So the total cases of VOC are recorded here as

09:39:57   14· ·well as the categories for the reasons of return.

09:40:03   15· · · · Q.· · How did you determine what are the categories

09:40:07   16· ·for the reasons of return?
               ·for                      ?

09:40:10   17· · · · · · · MR. SHAUL:· Objection to form.

09:41:04   18· · · · A.· · The TF team made the categories based on the

09:41:07       ·response given by respondents.
           19· ·response                     .

09:41:10   20· ·BY MR. HO:

09:41:12   21· · · · Q.· · Were these responses to questions?

09:41:19   22· · · · · · · MR. SHAUL:· Objection to form.

09:41:24   23· · · · A.· · Correct.

09:41:24   24· ·BY MR. HO:

09:41:25   25· · · · Q.· · And were the respondents customers of the


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             Case 5:11-cv-01846-LHK Document 1350-4 Filed 07/26/12 Page 7 of 12

               CONFIDENTIAL BUSINESS INFORMATION - SUBJECT TO PROTECTIVE ORDER
                                                                              21

09:41:28   ·1· ·Galaxy Tab 10.1?
                               ?

09:41:31   ·2· · · · A.· · No.

09:41:44                                                          ?
           ·3· · · · Q.· · Were the respondents Best Buy employees?

09:41:46   ·4· · · · A.· · Yes.· Most of them, yes.

09:41:54   ·5· · · · Q.· · Looking at the summary, what were the reasons

09:41:59                                                  ?
           ·6· ·why customers returned the Galaxy Tab 10.1?

09:42:02   ·7· · · · · · · MR. SHAUL:· Objection to form.

09:42:27   ·8· · · · A.· · It's as it is in the document.

09:42:27   ·9· ·BY MR. HO:

09:42:30   10· · · · Q.· · Did you prepare this document?

09:42:31   11· · · · A.· · Yes, I collected the information and prepared

09:42:42   12· ·this document.

09:42:43   13· · · · Q.· · Is one of the reasons for the return product

09:42:48   14· ·quality?

09:42:48   15· · · · A.· · Yes, it is.

09:43:04   16· · · · Q.· · Was one of the reasons for the return the

09:43:07   17· ·usability of the Galaxy Tab 10.1?
                                                ?

09:43:09   18· · · · A.· · Yes, it is.

09:43:24   19· · · · Q.· · And was a reason for return the design of the

09:43:29   20· ·Galaxy
               ·Galaxy Tab 10.1?
                               ?

09:43:30   21· · · · · · · MR. SHAUL:· Objection to form.

09:43:53   22· · · · A.· · Yes, it is.

09:43:53   23· ·BY MR. HO:

09:43:57   24· · · · Q.· · For the purposes of this summary of the reasons

09:44:00   25· ·for return of the Galaxy Tab 10.1, what does "product


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             Case 5:11-cv-01846-LHK Document 1350-4 Filed 07/26/12 Page 8 of 12

               CONFIDENTIAL BUSINESS INFORMATION - SUBJECT TO PROTECTIVE ORDER
                                                                              22

09:44:05   ·1· ·quality" mean?

09:44:25                                                         .
           ·2· · · · A.· · It's basically faults with the product.

09:44:41   ·3· · · · · · · CHECK INTERPRETER:· "Defects."

09:44:42                                      "Defects."· I agree.
           ·4· · · · · · · LEAD INTERPRETER:· "Defects."·

09:44:43   ·5· ·BY MR. HO:

09:44:43                                       ?
           ·6· · · · Q.· · What about usability?

09:44:46   ·7· · · · · · · MR. SHAUL:· Objection, form.

09:45:07                                                       .
           ·8· · · · A.· · Inconvenience when using the product.

09:45:07   ·9· ·BY MR. HO:

09:45:11                                  design
           10· · · · Q.· · And what about design?

09:45:13   11· · · · · · · MR. SHAUL:· Objection to form.

09:45:29   12· · · · A.· · It's the same.· Complaints about the design of

09:45:32                   .
           13· ·the product.

09:45:32   14· ·BY MR. HO:

09:45:35   15· · · · Q.· · By "design," do you mean the exterior design?

09:45:45   16· · · · · · · MR. SHAUL:· Objection to form.

09:45:53   17· · · · A.· · Its complex function.

09:45:59   18· · · · · · · CHECK INTERPRETER:· "Complex.· Function."

09:45:59   19· ·BY MR. HO:

09:46:04   20· · · · Q.· · By "design," do you mean the functioning of the

09:46:06               ?
           21· ·product?

09:46:12   22· · · · · · · MR. SHAUL:· Objection to form.

09:46:24   23· · · · A.· · Not exactly that, but in a complex manner, the

09:46:31   24· ·complaints
               ·complaints that customers would have of the design.
                                                                  .

           25· ·///


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             Case 5:11-cv-01846-LHK Document 1350-4 Filed 07/26/12 Page 9 of 12

               CONFIDENTIAL BUSINESS INFORMATION - SUBJECT TO PROTECTIVE ORDER
                                                                              26

09:56:15   ·1· · · · Q.· · And can you describe a little more about what

09:56:19   ·2· ·"Benchmarking the A Company specialist store permanent

09:56:22   ·3· ·residence system" is?
                                    ?

09:56:24   ·4· · · · · · · MR. SHAUL:· Objection to form.

09:57:04   ·5· · · · A.· · That, I don't remember.

09:57:04   ·6· ·BY MR. HO:

09:57:13   ·7· · · · Q.· · Did the task force come up with the idea of

09:57:17   ·8· ·looking at how Apple puts specialists at Best Buy?

09:57:25   ·9· · · · · · · MR. SHAUL:· Objection to form.

09:57:50   10· · · · A.· · I don't remember exactly.

09:57:50   11· ·BY MR. HO:

09:57:52   12· · · · Q.· · Does Samsung have specialists at Best Buy?

09:58:09   13· · · · A.· · As far as I know, they do not.

09:58:11   14· · · · Q.· · Can you please turn to the document Bates

09:58:15   15· ·labeled -- ending in -010.· Can you please go to the row

09:58:29   16· ·that's labeled O/S, Honeycomb, and iPad.· Do you see that

09:58:35   17· ·row?

09:58:35   18· · · · A.· · Yes.

09:58:40   19· · · · Q.· · Can you tell me generally what this chart

09:58:47   20· ·depicts?

09:59:24   21· · · · A.· · It says that the Honeycomb OS is difficult to

09:59:52   22· ·use, and that is the reason of return.
                                                     .

09:59:56   23· · · · Q.· · Does it also say that people exchange the

10:00:01   24· ·Samsung Galaxy Tab 10.1 for the iPad 2?
                                                      ?

10:00:04   25· · · · · · · MR. SHAUL:· Objection to form.


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             Case 5:11-cv-01846-LHK Document 1350-4 Filed 07/26/12 Page 10 of 12

               CONFIDENTIAL BUSINESS INFORMATION - SUBJECT TO PROTECTIVE ORDER
                                                                              27

10:00:18   ·1· · · · A.· · Yes.

10:00:18   ·2· ·BY MR. HO:

10:00:19   ·3· · · · Q.· · And did the task force assign this reason for

10:00:25   ·4· ·return
               ·return as a usability reason?
                                            ?

10:00:27   ·5· · · · · · · MR. SHAUL:· Objection to form.

10:00:43   ·6· · · · A.· · Yes, that is how it is.

10:00:48   ·7· · · · · · · CHECK INTERPRETER:· ". . . depicted."

10:00:48   ·8· ·BY MR. HO:

10:00:50   ·9· · · · Q.· · Can you please turn to the page ending in Bates

10:00:54   10· ·No. -021.

10:01:09   11· · · · A.· · Okay.

10:01:10   12· · · · Q.· · Earlier you testified that you received reports

10:01:19   13· ·indicating that customers confuse the Galaxy Tab 10.1 for

10:01:23   14· ·the iPad 2;
                         2; is that correct?

10:01:24   15· · · · · · · MR. SHAUL:· Objection to form.

10:01:43   16· · · · A.· · Yes.

10:01:43   17· ·BY MR. HO:

10:01:44   18· · · · Q.· · Does this page reflect that reason?

10:01:52   19· · · · · · · MR. SHAUL:· Objection to form.

10:01:55   20· · · · A.· · Correct.· Yes.

10:01:55   21· ·BY MR. HO:

10:01:58   22· · · · Q.· · Do you remember if Samsung did anything in

10:02:00   23· ·response to customers returning the Samsung Galaxy Tab

10:02:07   24· ·10.1
               ·10.1 because the customer had thought it was an iPad 2?
                                                                      ?

10:02:10   25· · · · · · · MR. SHAUL:· Objection to form.


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             Case 5:11-cv-01846-LHK Document 1350-4 Filed 07/26/12 Page 11 of 12

               CONFIDENTIAL BUSINESS INFORMATION - SUBJECT TO PROTECTIVE ORDER
                                                                              28

10:02:36   ·1· · · · A.· · If Samsung responded to that?· Is that your

10:02:40   ·2· ·question?

10:02:40   ·3· ·BY MR. HO:

10:02:40   ·4· · · · Q.· · Yes.· Or did the task force come up with any

10:02:43   ·5· ·idea to respond to that?

10:02:44   ·6· · · · · · · MR. SHAUL:· Objection to form.

10:02:53   ·7· · · · A.· · So if a proposal was made then?

10:02:55   ·8· ·BY MR. HO:

10:02:55   ·9· · · · Q.· · Sure.

10:02:59   10· · · · A.· · Yes, we did suggest an idea.

10:03:01   11· · · · Q.· · And what was that idea?

10:03:04   12· · · · A.· · Well, like before, the idea here is that we

10:03:20   13· ·will benchmark A Company, and there is a need to improve

10:03:27   14· ·our company's FMR structure -- FMR organization operation

10:03:33       ·method.
                      .
           15· ·method.

10:03:34   16· · · · Q.· · What does "FMR" stand for?

10:03:38                   F
           17· · · · A.· · Field marketing resource.· I don't know exactly

10:03:51       ·what the "R" stands for, resource.
           18· ·what                             .

10:03:53   19· · · · · · · LEAD INTERPRETER:· Just my -- interpreter

10:03:55   20· ·used "resource," but he said "manpower," so . . .

10:03:58   21· ·BY MR. HO:

10:03:58   22· · · · Q.· · Did Samsung consider redesigning the Samsung

10:04:03   23· ·Galaxy
               ·Galaxy Tab 10.1 so that customers would not be confused

10:04:06   24· ·that
               ·that they were purchasing iPad 2?
                                                ?

10:04:09   25· · · · · · · MR. SHAUL:· Objection to form.


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                Case 5:11-cv-01846-LHK Document 1350-4 Filed 07/26/12 Page 12 of 12

                  CONFIDENTIAL BUSINESS INFORMATION - SUBJECT TO PROTECTIVE ORDER
                                                                                 82

14:00:25   ·1· · · · A.· · I've never seen this before.

14:00:29   ·2· · · · Q.· · Can you tell me what it is?

14:00:32   ·3· · · · · · · MR. SHAUL:· Objection to form.

14:00:35   ·4· · · · A.· · I don't know.

14:00:38   ·5· · · · · · · MR. HO:· That's all the questions I have for

14:00:39   ·6· ·you today, Mr. Lee.· Thank you very much.

14:00:41   ·7· · · · · · · I'd just like to state for the record that

14:00:43   ·8· ·almost 20,000 pages of Mr. Lee's documents were

14:00:46   ·9· ·produced less than three days before this deposition,

14:00:50   10· ·and some less than two days before the deposition.

14:00:52   11· ·And most of it was in Korean language.

14:00:54   12· · · · · · · So we reserve the right to continue this

14:00:56   13· ·deposition, if necessary, based on the review of those

14:00:59   14· ·documents.

14:00:59   15· · · · · · · MR. SHAUL:· Samsung disagrees.· And we don't

14:01:25   16· ·have any questions either at this time.

14:01:31   17· · · · · · · MR. HO:· Off the record.

14:01:33   18· · · · · · · THE VIDEOGRAPHER:· Going off the record.

14:01:34   19· ·It's 14:01.

14:01:36   20· · · · · · · (Time noted:· 2:01 p.m.)

           21

           22

           23

           24

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